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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



 United States of America,                      )       CASE NO. 1:12 CR 131
                                                )
                        Plaintiff,              )       JUDGE PATRICIA A. GAUGHAN
                                                )
                vs.                             )
                                                )
 Miguel McGhee,                                 )       Memorandum of Opinion and Order
                                                )
                        Defendant.              )



        Introduction

        This matter is before the Court upon defendant’s Motion under § 2255 to Vacate, Set

 Aside, or Correct Sentence (Doc. 129). For the following reasons, the motion is DENIED.

        Facts

        Miguel McGhee was convicted following a jury trial for conspiracy to commit Hobbs Act

 robbery in connection with two robberies of Radio Shack stores. He was acquitted on a third

 count for use of a firearm. He was sentenced to 240 months of imprisonment. Defendant’s

 conviction was affirmed on appeal, with the Sixth Circuit declining to reach defendant’s sole

 claims of ineffective assistance of counsel.

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        Standard of Review

        28 U.S.C. § 2255 provides a prisoner in federal custody a remedy to collaterally attack

 his sentence on the ground that it was imposed in violation of the Constitution or laws of the

 United States. To warrant relief under 28 U.S.C. § 2255 because of constitutional error, the error

 must be one of constitutional magnitude which had a substantial and injurious effect or influence

 on the proceedings. Brecht v. Abrahamson, 507 U.S. 619, 637, 113 S.Ct. 1710, 123 L.Ed.2d 353

 (1993) (citation omitted); Humphress v. United States, 398 F.3d 855, 858 (6th Cir.2005).

        Discussion

        Defendant asserts four claims for relief. Ground One alleges ineffective assistance of

 trial counsel. Ground Two alleges that defendant’s counsel violated his due process rights by

 failing to ensure that such were properly given. Ground Three alleges that the arresting officer

 violated the Fourth Amendment by failing to secure a proper and valid search warrant before

 searching the contents of defendant’s cell phone or house. Ground Four alleges prosecutorial

 misconduct on the basis that the prosecutors failed to hand over exculpatory evidence that was

 favorable to the defendant’s defense. In his original § 2255 motion, defendant presented no

 argument or support for his claims. In his supplemental brief in support of his motion1, defendant

 abandons the second, third, and fourth grounds. Relief is denied on those grounds. Additionally,

 the supplemental brief now challenges appellate counsel’s performance.2 However, because


  1
          This brief was filed one week beyond the deadline granted by this Court after
          defendant asked for two extensions. However, the Court declines to disregard the
          brief as untimely as urged by the government.
  2
          The government contends that defendant also raises a new ground by asserting
          that his counsel’s performance during the sentencing phase was ineffective.
          However, the original petition challenged counsel’s performance “throughout my

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 defendant did not raise this ground for relief in his original petition, defendant may not raise it

 now. Therefore, the sole issue before the Court is trial counsel’s performance.

           A defendant claiming ineffective assistance of counsel must show both deficient

 performance and prejudice, i.e., that there is a reasonable probability that, but for the errors, the

 result of the proceeding would have been different. Strickland v. Washington, 466 U.S. 668

 (1984).

           Defendant asserts four subsections supporting his claim that his trial counsel, Daniel

 Taylor, was ineffective. The Court does not find that any warrants § 2255 relief.

           In the first subsection, defendant asserts that Taylor was not prepared for trial as

 evidenced by his inability to cross-examine the government’s witnesses. This was demonstrated

 by the fact that the cross-examinations were interrupted over 65 times by objections,

 admonitions from the Court, and corrections by the Court. Taylor also failed to object when a

 witness testified that defendant previously served time in prison, referred to an incorrect date of a

 robbery, misidentified the town where a robbery occurred, called a witness by the wrong name,

 and misstated his own client’s name. Additionally, Taylor considered a 1 ½ hour video of a

 police interview with a government witness to be key impeachment evidence to be played for the

 jury, but he failed to provide a transcript of the video or edit it to exclude irrelevant portions.

           Initially, while acknowledging that he must demonstrate that but for Taylor’s action at

 trial, the result of the proceeding would have been different, defendant does not do so when

 addressing Taylor’s deficiencies. For the reasons stated by the government in its first response




            whole entire trial proceedings.” The Court will consider this to encompass
            sentencing.

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 to defendant’s motion, the Court agrees with the government that there was substantial evidence

 of defendant’s guilt. Therefore, he does not show prejudice. Moreover, defendant asserts that

 “the court had to correct Taylor in front of the jury over 65 times during the trial.” But,

 defendant acknowledges elsewhere in his brief that the 65 times included interruptions because

 of objections and admonitions. Additionally, the video to which defendant refers was played for

 the jury and the witness’s credibility was undermined by Taylor’s cross-examination. Defendant

 was, in fact, acquitted of the count to which this witness provided the only evidence. Thus,

 Taylor was effective.

        In the third subsection, defendant contends that Taylor presented no mitigating argument

 at sentencing although the Court asked that he say something positive about his client. Again,

 defendant does not establish prejudice where the government points out that it provided evidence

 in support of a sentence at the highest end of the guideline range while defendant offered no

 contrary evidence when given a chance to speak.

        In the second and fourth subsections, defendant merely restates the assertions contained

 in the first subsection. Therefore, there is no ground upon which to grant relief.

        Conclusion

        For the foregoing reasons, defendant’s Motion to Vacate Under Section 2255 is denied.

 Furthermore, the Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that an appeal from this

 decision could not be taken in good faith, and that there is no basis upon which to issue a

 certificate of appealability. 28 U.S.C. § 2253(c); Fed. R.App.P. 22(b).




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        IT IS SO ORDERED.




                                /s/ Patricia A. Gaughan
                                PATRICIA A. GAUGHAN
                                United States District Judge
 Dated: 3/31/15




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